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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                                                                                                  .

United States of America

                      Plaintiff;                     Case No.: 0:22-cv-01512-NEB-TNL

vs.

Thomas J. Pashina, Jane R. Pashina;                  NOTICE OF WITHDRAWAL AND
Midland Funding, LLC; and PHH                        SUBSTITUTION OF COUNSEL
Mortgage Corporation,

                      Defendants.
                                                                                                  .

       PLEASE TAKE NOTICE in accordance with United States District Court District of

Minnesota Local Rule 83.7(b), William S. Fulton Jr. of Houser LLP hereby withdrawals as counsel

to Defendant PHH Mortgage Corporation. Furthermore, Benjamin T. O’Laughlin of Houser LLP

will now substitute and hereby appears as Attorney for PHH Mortgage Corporation. Please ensure

that all future notices and papers be served to Mr. O’Laughlin’s attention at the below listed

Substituting Attorney’s Information. This withdrawal and substitution will not delay the trial or

progression of the above captioned litigation. As is required by the rule, the names, addresses and

signatures of the withdrawing attorney and substituted counsel are as follows:

                     WITHDRAWING ATTORNEY’S INFORMATION
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                                   612-444-1774

                     SUBSTITUTING ATTORNEY’S INFORMATION
                               Benjamin T. O’Laughlin
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Dated: February 13, 2023

                                           HOUSER LLP

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 Dated: February 13, 2023                  HOUSER LLP

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